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   United States Court of Appeals
       for the Federal Circuit
                  ______________________

   ALLERGAN USA, INC., ALLERGAN HOLDINGS
         UNLIMITED CO., ALLERGAN
   PHARMACEUTICALS INTERNATIONAL LTD.,
     JANSSEN PHARMACEUTICA NV, EDEN
             BIODESIGN, LLC,
             Plaintiffs-Appellants

                             v.

    MSN LABORATORIES PRIVATE LTD., MSN
        PHARMACEUTICALS, INC., SUN
    PHARMACEUTICAL INDUSTRIES LIMITED,
             Defendants-Appellees
            ______________________

                        2024-1061
                  ______________________

     Appeal from the United States District Court for the
 District of Delaware in Nos. 1:19-cv-01727-RGA, 1:20-cv-
 01479-RGA, 1:21-cv-01064-RGA, 1:21-cv-01065-RGA,
 Judge Richard G. Andrews.
                  ______________________

                       MANDATE
                  ______________________

     In accordance with the judgment of this Court, entered
 August 13, 2024, and pursuant to Rule 41 of the Federal
 Rules of Appellate Procedure, the formal mandate is
 hereby issued.


                                        FOR THE COURT




 November 27, 2024
      Date
